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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
Joyce Jackson,

                                   Plaintiff,                    CANCELLATION ORDER

                 -against-                                       20 Civ. 6797 (PMH)(AEK)

National Railroad Passenger Corporation,

                                    Defendant.
-------------------------------------------------------------X

THE HONORABLE ANDREW E. KRAUSE, U.S.M.J.
        The settlement conference scheduled for Tuesday, January 12, 2021, at 2:15 p.m. is

hereby CANCELLED. This was the Court’s third attempt to schedule a settlement conference in

this matter, but once again, Plaintiff’s counsel failed to comply with the Court’s simple and

straightforward requirement for a pre-conference submission. It has been an inconvenience to

the Court—and, presumably, to counsel for Defendant—to have to schedule and reschedule this

conference multiple times, only for Plaintiff to repeatedly disregard the Court’s orders.

Accordingly, the Court is not setting a new date for a settlement conference at this time. That

said, the order of reference to the undersigned for a settlement conference remains open. If the

parties determine at a later point in this case that they would like to participate in a settlement

conference, Plaintiff’s counsel is directed to submit via ECF a joint letter on behalf of both

parties requesting that the Court schedule a settlement conference. That letter must include three

proposed dates that all parties and their clients would be available for such a conference.

Dated: January 11, 2020
       White Plains, New York                                    SO ORDERED.

                                                                 ________________________
                                                                 Andrew E. Krause
                                                                 United States Magistrate Judge
